         Case 24-11685-amc
 Fill in this information to identify the case:
                                               Doc         Filed 06/26/24 Entered 06/26/24 08:13:12                   Desc Main
                                                           Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Hortense  C. Tippett
             __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                              (State)
                         24-11685-amc
 Case number           ___________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                   WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT INDIVIDUALLY
                   BUT SOLELY AS TRUSTEE FOR FINANCE OF AMERICA
                                                                                                                             2
 Name of creditor: _______________________________________
                   STRUCTURED SECURITIES ACQUISITION TRUST 2019-HB1                        Court claim no. (if known): __________________

 Last 4 digits of any number you use to                    9648
 identify the debtor s account:                            ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  X
        No
        Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                        Dates incurred                                    Amount

  1. Late charges                                                         _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                      _________________________________           (2)   $ __________
  3. Attorney fees                                                        _________________________________           (3)   $ __________
  4. Filing fees and court costs                                          _________________________________           (4)   $ __________
                                                                             05/29/24                                           950.00
  5. Bankruptcy/Proof of claim fees                                       _________________________________           (5)   $ __________
  6.                                opinion fees                          _________________________________           (6)   $ __________
  7. Property inspection fees                                             _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                            _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                      _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________              _________________________________          (10)   $ __________
                       410A preparation
 11. Other. Specify:____________________________________
                                                                             05/29/24
                                                                          _________________________________          (11)      250.00
                                                                                                                            $ __________
 12. Other. Specify:____________________________________                  _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                  _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                  _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 1
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Debtor 1
                 Hortense C. Tippett
              _______________________________________________________                                               24-10745
                                                                                            Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

       I am the creditor.
   X
       I am the                                      .


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


                                                                                                        06/26/24
                           /s/ Andrew M. Lubin
                  __________________________________________________                        Date    ____/_____/________
                  Signature




 Print:            Andrew M. Lubin
                  _________________________________________________________                 Title   Attorney for creditor
                                                                                                    ___________________________
                  First Name                      Middle Name        Last Name



 Company           McCabe, Weisberg & Conway, LLC
                  _________________________________________________________



 Address           1420 Walnut Street, Suite 1501
                  _________________________________________________________
                  Number                 Street
                   Philadelphia, PA 19102
                  ___________________________________________________
                  City                                               State       ZIP Code




 Contact phone       215 _____
                  (______) 790 _________
                                 1010                                                             ecfmail@mwc-law.com
                                                                                            Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                               UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:     Hortense C. Tippett                   Chapter 13
                                                 Bankruptcy No. 24-11685-amc
                         Debtor(s)

WILMINGTON SAVINGS FUND SOCIETY, FSB,
NOT INDIVIDUALLY BUT SOLELY AS
TRUSTEE FOR FINANCE OF AMERICA
STRUCTURED SECURITIES ACQUISITION
TRUST 2019-HB1, or its Successor or Assignee
                     Movant
            vs.

Kenneth E. West, Trustee
Hortense C. Tippett
                       Respondent(s)

         CERTIFICATION OF SERVICE OF NOTICE OF POSTPETITION MORTGAGE FEES,
                               EXPENSES, AND CHARGES

           I, Andrew M. Lubin, attorney for WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT
 INDIVIDUALLY BUT SOLELY AS TRUSTEE FOR FINANCE OF AMERICA STRUCTURED
 SECURITIES ACQUISITION TRUST 2019-HB1, hereby certify that I served a true and correct copy of
 the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges, by United States Mail, first
 class, postage prepaid, and/or electronic means, upon the following:
 Date Served: 06/26/24

 Hortense C. Tippett            Michael A. Cibik                        Kenneth E. West
 346 Congress Avenue            Cibik Law, P.C.                         Office of the Chapter 13
 Lansdowne, PA 19050            1500 Walnut Street                      Standing Trustee
                                Suite 900                               1234 Market Street - Suite 1813
                                Philadelphia, PA 19102                  Philadelphia, PA 19107
                                Attorney for Debtor                     Trustee

                                United States Trustee
                                Office of United States Trustee
                                Robert N.C. Nix Federal Building
                                900 Market Street Suite 320
                                Philadelphia, PA19107


                                          /s/ Andrew M. Lubin
                                          ANDREW M. LUBIN, ESQUIRE ID # 54297
                                          Attorney for WILMINGTON SAVINGS FUND SOCIETY, FSB,
                                          NOT INDIVIDUALLY BUT SOLELY AS TRUSTEE FOR
                                          FINANCE OF AMERICA STRUCTURED SECURITIES
                                          ACQUISITION TRUST 2019-HB1
                                          1420 Walnut Street, Suite 1501
                                          Philadelphia, PA 19102
                                          Telephone: (215) 790-1010
                                          Facsimile: (215) 790-1274
                                          Email: ecfmail@mwc-law.com
